 

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Case 1:20-cr-00538-PGG Document 69 Filed 07/22/22 Page i1of1

 

UNITED STATES OF AMERICA
- against -
DONNELL RUSSELL,

Defendant.

VERDICT

20 Cr. 538 (PGG)

 

 

Please indicate your unanimous determination with a check mark (/).

COUNT ONE — CONSPIRACY TO TRANSMIT IN INTERSTATE COMMERCE

A THREAT TO INJURE THE PERSON OF ANOTHER

GUILTY NOT GUILTY SS

COUNT TWO - TRANSMITTING IN INTERSTATE COMMERCE A
THREAT TO INJURE THE PERSON OF ANOTHER

GUILTY Sf NOT GUILTY

After completing this form, the Foreperson should sign and date it, place it in an envelope,

\
\

and inform the Marshal that the jury has reached_a-verdict.
A

Dated: al Lt lav

’

/

i

Si atura pt Forepersén

 
